                           EXHIBIT 9
Document Type                                               Page

A. Certificate of True Copy (Blair Williams)                1
B. Portal Docket 20240408                                   2
C. Order for Arrest                                         8
D. Release Order                                            10
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G. Portal Docket                                            15
H. Release Order                                            18
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                                                       Wake District Court

                                                        Case Summary
                                                  Case No. 23CR270240-910


 STATE OF NORTH CAROLINA VS DENNIS KEITH                           §                        Location: Wake District Court
 LASSITER                                                          §                        Filed on: 03/30/2023
                                                                   §    Electronic Warrants Warrant tU656b3DyW5r5b5j5NzYoJ
                                                                                                  ID:
                                                                   §       Criminal Process Number: MO-23-223304
                                                                   §       Criminal Process Number: RO-23-223350
                                                                   §    Electronic Warrants Warrant cKwUHysJ5KWMdEeZLSerpS
                                                                                                  ID:
                                                                   §    Electronic Warrants Warrant 9j6snyzD1KtUNZVoLaLtkG
                                                                                                  ID:
                                                                   §       Criminal Process Number: OFA-23-255903
                                                                   §    Electronic Warrants Warrant bGSBpDP8K5dVADGLjhwkEt
                                                                                                  ID:
                                                                   §       Criminal Process Number: OFA-23-580278
                                                                   §       Criminal Process Number: RO-23-736302
                                                                   §    Electronic Warrants Warrant fzqxxuzu7tg9HEKiLXGEnc
                                                                                                  ID:



                                                       Case Information

                                                                  Offense                    Case Type: Criminal
Offense                                Statute         Degree                  Filed Date
                                                                  Date                      Case Status: 03/30/2023 Pending
1. FELONY POSSESSION OF                90-95(D)        FI         03/30/2023   03/30/2023
   COCAINE                             (2)
     Arrest
       Date: 03/30/2023
    Offense Reports
       Control #: 23001007
       Agency: Garner Police Department
                 912 Seventh Ave
                 Garner, NC, 27529
2. POSSESS DRUG                       90-113.22        M1         03/30/2023   03/30/2023
   PARAPHERNALIA
     Arrest
       Date: 03/30/2023
     Offense Reports
        Control #: 23001007
        Agency: Garner Police Department
                  912 Seventh Ave
                  Garner, NC, 27529

Related Cases
23CR270240-910 (Bond Forfeiture)

Bonds
Unsecured Bond            #23B077215
 10/20/2023               Posted
 Counts: 1, 2

Secured Bond -            #23B013800                  $2,000.00
Professional Surety
 11/29/2023               Set-Aside Before Judgment
 10/06/2023               Forfeiture Pending
 07/07/2023               Forfeiture Ordered
 03/31/2023               Posted
 Counts: 1, 2
                                                            PAGE 1 OF 6                           Printed on 04/08/2024 at 12:31 PM

                                                                0002

            Case 1:23-cv-00423-WO-JLW Document 94-9 Filed 04/09/24 Page 3 of 26
                                                    Wake District Court

                                                    Case Summary
                                            Case No. 23CR270240-910
Bond Insurance Company: UNITED STATES FIRE INSURANCE COMPANY
305 MADISON AVE
MORRISTOWN, NJ 07960
Bond Company: COLLINS, MARCUS, D
PO BOX 25584
RALEIGH, NC 27611
03/30/2023              Arrest Date




                                                 Assignment Information

             Current Case Assignment
             Case Number 23CR270240-910
             Court         Wake District Court
             Date Assigned 03/30/2023



                                                   Party Information

Defendant        LASSITER, DENNIS KEITH                           O'NEIL, MOLLY ANN
                  Alias LASSITER, DENISE KEITH                    Retained
                  Alias LASSITER, KEITH
                  126 COLBY LN
                  ANGIER, NC 27501
                  White
                  Male
State            STATE OF NORTH CAROLINA                          Stewart, Robert Jeremy
                  Other                                           Retained

Complainant Taylor, Patrick
             912 SEVENTH AVE
             GARNER, NC 27529
Witness          Taylor, Patrick
                  912 SEVENTH AVE
                  GARNER, NC 27529
Law         Taylor, Patrick
Enforcement 912 SEVENTH AVE
Officer      GARNER, NC 27529

Fiduciary        COLLINS, MARCUS, D
                  PO BOX 25584
                  RALEIGH, NC 27611
School           WAKE COUNTY SCHOOL BOARD                         Malone, Vernon R.
Board            PO BOX 1151                                      Retained
                 RALEIGH, NC 27602
Surety           UNITED STATES FIRE INSURANCE COMPANY
                  305 MADISON AVE
                  MORRISTOWN, NJ 07960



                                                      Case Events

10/21/2023
               Release Order Returned
                 Created: 04/08/2024 9:30 AM


                                                       PAGE 2 OF 6                         Printed on 04/08/2024 at 12:31 PM

                                                           0003

             Case 1:23-cv-00423-WO-JLW Document 94-9 Filed 04/09/24 Page 4 of 26
                                                       Wake District Court

                                                       Case Summary
                                                    Case No. 23CR270240-910
10/20/2023
              Release Order Modified
                Created: 10/26/2023 2:54 PM
10/20/2023    Bond Posted                                                                                                Index # 16
                Created: 10/23/2023 9:08 AM
10/20/2023
              Bond Amount Change
                Created: 10/21/2023 2:09 PM
10/20/2023                                                                                                               Index # 1 5
              Order of Assignment of Counsel or Denial of Counsel   (Judicial Officer: Sasser, Debra S)
                Created: 10/20/2023 4:17 PM
10/20/2023    Counsel Appointed - Public Defender
                Created: 10/20/2023 4:17 PM
10/19/2023
              SBI Fingerprint Card
                FTA-FEL POSSESSION OF CACAINE, POSSESS DRUG PARA
                Created: 10/30/2023 2:22 PM
10/19/2023                                                                                                               Index # 13
              Order for Arrest Returned Served
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: OFA-23-580278
                Created: 10/19/2023 12:36 PM
10/19/2023                                                                                                               Index # 14
              Release Order Issued
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: RO-23-736302
                Created: 10/19/2023 12:37 PM
10/09/2023                                                                                                               Index # 12
              Bond Forfeiture Notice  (Judicial Officer: EAGLES, MARGARET P)
                Bond A
                Parties: Defendant LASSITER, DENNIS KEITH;
                          Fiduciary COLLINS, MARCUS, D;
                          Surety UNITED STATES FIRE INSURANCE COMPANY
                Created: 10/06/2023 2:25 PM
09/06/2023                                                                                                               Index # 10
              Legacy Complete Case Scan
                Created: 09/06/2023 9:05 AM
08/17/2023                                                                                                               Index # 9
              Order for Arrest Issued
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: OFA-23-580278
                Created: 08/17/2023 4:43 PM
07/07/2023    Bond Forfeited                                                                                             Index # 1 1
                Created: 10/05/2023 1:31 PM
07/07/2023    Called and Failed (Judicial Officer: EAGLES, MARGARET P)
                Created: 07/07/2023 1:07 PM
05/30/2023                                                                                                               Index # 8
              Order to Strike Called and Failed
                Created: 05/31/2023 3:45 PM
05/23/2023                                                                                                               Index # 7
              Motion to Strike Called and Failed
                Filed By: Defendant LASSITER, DENNIS KEITH
                Created: 05/23/2023 3:37 PM
05/23/2023    Called and Failed (Judicial Officer: Stevens, Mark Lindsay)
                Created: 05/23/2023 2:26 PM

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                                                       Wake District Court

                                                        Case Summary
                                                    Case No. 23CR270240-910
05/02/2023
              Waiver of Counsel (Judicial Officer: Stevens, Mark Lindsay)
                Created: 05/02/2023 9:26 AM
04/13/2023    Order for Arrest Recalled
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: OFA-23-255903
                Created: 04/13/2023 4:48 PM
04/13/2023                                                                                          Index # 5
              Order for Arrest Issued
                Location: WAKE COUNTY COURTHOUSE
                : OFA-23-255903
                Created: 04/13/2023 3:52 PM
04/12/2023    Order to Strike Called and Failed                                                     Index # 6
                Created: 04/13/2023 4:49 PM
04/03/2023                                                                                          Index # 4
              Motion to Strike Called and Failed
                Created: 04/03/2023 10:47 AM
03/31/2023    Called and Failed
                Created: 04/13/2023 3:51 PM
03/31/2023    Called and Failed (Judicial Officer: Chasse, Eric C)
                Created: 03/31/2023 2:53 PM
03/31/2023                                                                                          Index # 3
              Bond Posted
                Created: 03/31/2023 9:09 AM
03/30/2023    Release Order Issued                                                                  Index # 2
                Location: WAKE COUNTY COURTHOUSE
                : RO-23-223350
                Created: 03/30/2023 7:45 PM
03/30/2023    Magistrate Order Issued                                                               Index # 1
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: MO-23-223304
                Party: Defendant LASSITER, DENNIS KEITH
                Created: 03/30/2023 7:31 PM



                                                            Hearings

04/26/2024 Disposition Hearing (9:00 AM)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
           Created: 01/30/2024 11:18 AM
01/30/2024 Disposition Hearing (9:00 AM) (Judicial Officer: MANGUM, NED WILSON)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
             11/08/2023 Reset by Court to 01/30/2024
             MINUTES - 01/30/2024
             Disposition Hearing (04/26/2024 at 9:00 AM)
                Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
             Created: 01/30/2024 11:18 AM
             Continued;
                Continued
           Created: 11/07/2023 11:52 AM
11/07/2023 Disposition Hearing (9:00 AM) (Judicial Officer: Sasser, Debra S)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
             MINUTES - 11/07/2023
             Disposition Hearing (01/30/2024 at 9:00 AM) (Judicial Officer: MANGUM, NED WILSON)
               Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
               11/08/2023 Reset by Court to 01/30/2024
                                                            PAGE 4 OF 6              Printed on 04/08/2024 at 12:31 PM

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                                                     Wake District Court

                                                      Case Summary
                                                  Case No. 23CR270240-910
                      Continued
                Created: 11/07/2023 11:52 AM
                Continued;
                   Continued
              Created: 10/27/2023 11:01 AM
10/27/2023 Disposition Hearing (9:00 AM) (Judicial Officer: Stevens, Mark Lindsay)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
             MINUTES - 10/27/2023
             Disposition Hearing (11/07/2023 at 9:00 AM) (Judicial Officer: Sasser, Debra S)
                Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
                   Continued
             Created: 10/27/2023 11:01 AM
             Continued;
                Continued
           Created: 10/21/2023 2:08 PM
10/20/2023 First Appearance Hearing (1:30 PM) (Judicial Officer: Sasser, Debra S)
             Resource: Location 910-0304 Wake Co. Justice Center, Courtroom 304
             11/16/2023 Reset by Court to 10/20/2023
             MINUTES - 10/20/2023
                             Counsel Appointed - Public Defender
                               Created: 10/20/2023 4:17 PM

                               Order of Assignment of Counsel or Denial of Counsel   (Judicial Officer: Sasser, Debra S)
                                 Created: 10/20/2023 4:17 PM
                Index # 1 5
                Continued;
                   Continued
              Created: 10/19/2023 12:37 PM
07/07/2023 Disposition Hearing (9:00 AM) (Judicial Officer: EAGLES, MARGARET P)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
             MINUTES - 07/07/2023
                              Called and Failed (Judicial Officer: EAGLES, MARGARET P)
                                Created: 07/07/2023 1:07 PM
             Called & Failed;
                Called & Failed
           Created: 07/07/2023 10:42 AM
07/07/2023
              Disposition Announcement (9:00 AM)
                Resource: Location 910-0201 Wake Co. Justice Center, Courtroom 201
                07/07/2023 Reset by Court to 07/07/2023
                07/07/2023 Reset by Court to 07/07/2023
                MINUTES - 07/07/2023
                Disposition Hearing (07/07/2023 at 9:00 AM) (Judicial Officer: EAGLES, MARGARET P)
                   Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
                      Called & Failed
                Created: 07/07/2023 10:42 AM
                In Progress;
                   In Progress
              Created: 05/31/2023 3:49 PM
05/23/2023 Disposition Hearing (9:00 AM) (Judicial Officer: Stevens, Mark Lindsay)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
             MINUTES - 05/23/2023
                              Called and Failed (Judicial Officer: Stevens, Mark Lindsay)
                                Created: 05/23/2023 2:26 PM
             Called & Failed;
                Called & Failed
           Created: 05/02/2023 9:28 AM
05/02/2023 Disposition Hearing (10:00 AM) (Judicial Officer: Stevens, Mark Lindsay)
             Resource: Location 910-0304 Wake Co. Justice Center, Courtroom 304
             MINUTES - 05/02/2023
                                                          PAGE 5 OF 6                               Printed on 04/08/2024 at 12:31 PM

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                                                    Wake District Court

                                                     Case Summary
                                                 Case No. 23CR270240-910

                               Waiver of Counsel (Judicial Officer: Stevens, Mark Lindsay)
                                  Created: 05/02/2023 9:26 AM
               Disposition Hearing (05/23/2023 at 9:00 AM) (Judicial Officer: Stevens, Mark Lindsay)
                  Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
                     Called & Failed
               Created: 05/02/2023 9:28 AM
               Continued;
                  Continued
             Created: 04/13/2023 4:50 PM
03/31/2023 First Appearance Hearing (10:00 AM) (Judicial Officer: Chasse, Eric C)
             Resource: Location 910-0304 Wake Co. Justice Center, Courtroom 304
             MINUTES - 03/31/2023
                              Called and Failed (Judicial Officer: Chasse, Eric C)
                                Created: 03/31/2023 2:53 PM
             Called & Failed;
                Called & Failed
           Created: 03/31/2023 8:02 AM



                                                      Bond Settings

10/20/2023 Bond Setting
           Set By Clerk $5,000.00 Unsecured Bond
10/19/2023 Bond Setting
           Set By           Secured Bond - Property by Defendant , Secured Bond - Cash by Accommodation , Secured Bond -
                  $5,000.00
           Clerk            Property by Accommodation , Secured Bond - Cash by Defendant , Secured Bond - Professional Surety
03/30/2023 Bond Setting
           Set By           Secured Bond - Property by Defendant , Secured Bond - Cash by Accommodation , Secured Bond -
                  $2,000.00
           Clerk            Property by Accommodation , Secured Bond - Cash by Defendant , Secured Bond - Professional Surety




                                                         PAGE 6 OF 6                           Printed on 04/08/2024 at 12:31 PM

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           Case 1:23-cv-00423-WO-JLW Document 94-9 Filed 04/09/24 Page 8 of 26
    File No.                                                            Law Enforcement Case No.                               LID No.
                                                       See Attachment
               23CR270240-910
               ORDER FOR ARREST
# OFA-23-580278                                                            STATE OF NORTH CAROLINA                                           In The General Court Of Justice
        THE STATE OF NORTH CAROLINA VS.                                                                                                      District   Superior Court Division
Name, Address & Telephone No. Of Defendant
                                                                                              WAKE                           County
DENISE KEITH LASSITER
                                                                        To any officer with authority and jurisdiction to serve an Order For Arrest:
126 COLBY LN                                                            The Court finds that:
                                                                            1. FTA - RELEASE ORDER [G.S. 15A-305(b)(2)] the defendant has been arrested and released from
                                                                                custody and has failed on the date shown to appear as required by the Release Order.
               ANGIER                     NC            27501                        This is the defendant’s second or subsequent failure to appear on these charges.
                                                                            2. FTA - CRIMINAL SUMMONS OR CITATION (Do not use for infraction.) [G.S. 15A-305(b)(3)] the defendant has failed on the date shown
                                                                                to appear as required by a duly executed Criminal Summons or by a Citation that charged the defendant with a misdemeanor.
                                                                            3. TRUE BILL OF INDICTMENT [G.S. 15A-305(b)(1)] a Grand Jury has returned a true bill of indictment against the defendant, a copy of
                                                                               which is attached. [Note To Arresting Officer: If this option is checked, defendant must be fingerprinted. G.S. 15A-502(a).]
Race                       Sex              Date Of Birth         Age
                                                                            4. FTA - SHOW CAUSE AFTER FTC [G.S. 15A-305(b)(8)] the defendant has failed on the date shown to appear as required in a Show
           W                      M           12/05/1970                        Cause Order entered in this criminal proceeding.
Name And Address Of Defendant’s Employer                                    5. FTA - SHOW CAUSE ORDER IN ORIGINAL CRIMINAL JUDGMENT [G.S. 15A-305(b)(8); -1362(c); -1364(a)] the defendant has failed
                                                                                by the date shown to pay a fine or costs or both as required by a judgment entered in this case and has also failed, as required upon
                                                                                such failure, to appear on that date and show cause why the defendant should not be imprisoned.
                                                                            6. PROBABLE CAUSE THAT DEFENDANT MAY FAIL TO APPEAR - CRIMINAL CONTEMPT [G.S. 15A-305(b)(9); 5A-16] this Court has
                                                                                initiated plenary proceedings for contempt against the defendant under G.S. 5A-16, has issued a show cause order and finds probable
                                                                                cause to believe that the defendant will not appear as required in response to that order.
                                                                            7. PROBATION VIOLATION [G.S. 15A-305(b)(4); -1345(a)] the probation officer has provided the court with a written statement, signed by
                                                                                the probation officer, alleging that the defendant has violated specified conditions of the defendant’s probation and a copy of the written
                                                                                statement is attached.
                                                                            8. Other: (specify)
Date Defendant Failed To Appear
                            07/07/2023
Amount Of Bond                      Type Of Bond                        Notes
$                                        Official's Discretion
                                                                                                          OFFENSE(S)
Count                                                                                   In Violation of              Count                                                                        In Violation of
                                          Offense                                                         Code                                          Offense                                                     Code
 No.                                                                                         G.S.                     No.                                                                              G.S.
    1   F - FELONY POSSESSION OF COCAINE                                                90-95(D)(2) 3560
    2   M - POSSESS DRUG PARAPHERNALIA                                                  90-113.22 3401



          TRUE BILL OF INDICTMENT ONLY                                   You are DIRECTED to take the defendant into custody and bring the defendant before a judicial official for the purpose of:
Date Of Arrest & Check Digit No. (as shown on fingerprint card)                 determining conditions of release, and for commitment if the defendant is unable to comply.
                                                                                commitment since release of the defendant is not authorized.
Name Of Issuing Official                                                Signature                                                   Location Of Court                                       Court Date
B. Williams, by and through G Martinez                                                                                              0203-WAKE JUSTICE CENTER                                         09/21/2023
Date Of Offense                     Date Issued                            Magistrate      Deputy CSC                    DC Judge                                                           Court Time
        03/30/2023                             08/17/2023                  Asst. CSC       Clerk Of Superior Court       SC Judge                                                               2:00 PM
    AOC-CR-217, Rev. 3/23, © 2023 Administrative Office of the Courts                                      0008

                                               Case 1:23-cv-00423-WO-JLW Document 94-9 Filed 04/09/24 Page 9 of 26
                                                                                                                                                 File No.
                     STATE VERSUS                                                        WAKE                          County                                     23CR270240-910
Name Of Defendant
DENISE KEITH LASSITER                                                 If the Order For Arrest is not served within one hundred and eighty (180) days, it must be returned to the Clerk of Court
Date Of Issuance Of Order For Arrest                                  in the county in which it was issued with the reason for the failure of service noted thereon.
                                08/17/2023
                                                                                     RETURN OF SERVICE
 I certify that the Order For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received                                           Date Served                             Time Served                                            Date Returned



       By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



       The Order WAS NOT served for the following reason:



Signature Of Officer Making Return                                                                    Name Of Officer (type or print)


Department Or Agency Of Officer


                                                                                  REDELIVERY/REISSUANCE
Date                    Name Of Clerk (type or print)                            Signature Of Clerk
                                                                                                                                            Deputy CSC       Assistant CSC   Clerk Of Superior Court

                                                                      RETURN FOLLOWING REDELIVERY/REISSUANCE
 I certify that the Order For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received                                           Date Served                              Time Served                                           Date Returned



       By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



       The Order WAS NOT served for the following reason:



Signature Of Officer Making Return                                                                    Name Of Officer (type or print)


Department Or Agency Of Officer




   AOC-CR-217 Return, Rev. 3/23
   © 2023 Administrative Office of the Courts                                                  0009

                                              Case 1:23-cv-00423-WO-JLW Document 94-9 Filed 04/09/24 Page 10 of 26
                                                                                                  File No.
 STATE OF NORTH CAROLINA                                                                                         23CR270240-910

                      WAKE                                                                       In The General Court Of Justice
                                                       County                                    District  Superior Court Division
                                  STATE VERSUS
Name And Address Of Defendant
DENISE KEITH LASSITER                                                                            CONDITIONS OF RELEASE
126 COLBY LN                                                                                      AND RELEASE ORDER

ANGIER                                                           NC            27501                                                                    G.S. Chapter 15A, Art. 25, 26
                                                                                              Process No.                                   Amount Of Bond
                                                                                              # RO-23-736302                                $                   5,000.00
File Numbers And Offenses
                            ; F - FELONY POSSESSION OF COCAINE; M - POSSESS DRUG PARAPHERNALIA;
23CR270240-910




   See Attachment.
Location Of Court                                                                                                                        Date              Time
                                                                                                              District      Superior
Wake Co. Justice Center, Courtroom 203                                                                                                   11/16/2023           2:00 PM
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
        Your release is authorized upon execution of your: WRITTEN PROMISE to appear      UNSECURED BOND in the amount shown above
           CUSTODY RELEASE               SECURED BOND in the amount shown above (NOTE: Give a copy of this order to any surety who posts bond.)
           HOUSE ARREST with ELECTRONIC MONITORING administered by (agency)                                                            and the SECURED
            BOND above. You may leave your residence for the purpose(s) of  employment       counseling          course of study         vocational training




       Your release is not authorized.
       The defendant is required to provide (check all that apply)         fingerprints under G.S. 15A-502.      a DNA sample under G.S. 15A-266.3A.
          Prior to release, the defendant shall provide his/her (check all that apply)     fingerprints.     DNA sample.
        The defendant has been           (i) charged with a felony while on probation (complete AOC-CR-272, Side One).      (ii) arrested for violation of probation
       with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
         This Order is entered upon defendant’s warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
       Order dated                          .
          The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant’s arrest.
          The defendant was arrested or surrendered after failing to appear as required under a prior release order.
          This was the defendant’s second or subsequent failure to appear in this case.
          Your release is subject to the conditions as shown on the attached            AOC-CR-242.        AOC-CR-270.         AOC-CR-630.             AOC-CR-631.
                                                                                        AOC-CR-660.        Other:                                                   .
Additional Information
Pending cases andf FTA's.


Date                Name Of Judicial Official                          Signature Of Judicial Official                         Magistrate          Deputy CSC            Assistant CSC
 10/19/2023         M. Smith                                                                                                  Clerk Of Superior Court           DC Judge         SC Judge

                                                                        ORDER OF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
     hold him/her        as provided on the attached AOC-CR-272.             for the following purpose:                                          .
       [for charges covered by G.S. 15A-533(h), 15A-534.1, 15A-534.7, or 15A-534.8] produce him/her at the first session of District or Superior Court held in this county after the entry
       of this Order or, if no session is held before (for G.S. 15A-534.8, enter date and time 24 hours after arrest; for all others, 48 hours after arrest)                            ,
                         , produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                              Date                   Name Of Judicial Official                               Signature Of Judicial Official
WCDC                                                       10/19/2023          M. Smith
                                                                                      0010
                                                                                        (Over)
  AOC-CR-200, Rev. 10/23, © 2023 Administrative Office of the Courts

                    Case 1:23-cv-00423-WO-JLW Document 94-9 Filed 04/09/24 Page 11 of 26
                                          WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 I, the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.
 I understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If I am released to the custody of another person, I agree to be placed in that person’s custody, and that person agrees by
 his/her signature to supervise me.
Date                     Signature Of Defendant                                  Signature Of Person Agreeing To Supervise Defendant


Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                      Time                                   Signature Of Custodian


                                                    CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                       Signature Of Judicial Official




                                                   SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date          Time                        Place                         Purpose                               Signature Of Judicial Official




                                                  DEFENDANT RECEIVED BY DETENTION FACILITY
                         Date                                      Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                         Date                                      Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
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                    a   Sb
                                                                                                     Fre No
     STATE OF NORTH CAROLINA                                                                                       23CR270240-910

                          WAKE                                                                      in The General Court Of. Justice
                                                           County                               {X] District.     o
                                                                                                               Superior Court Division
                                     STATE VERSUS
    tame And Address Of Defendant
    DENISE KEITH LASSITER                                                                            CONDITIONS OF RELEASE:
    126 COLBY LN                                                                                      AND RELEASE ORDER
    ANGIER                                                          NC             27501                                                                 G.S, Chapter 15A, Art, 25, 26
                                                                                                 Process No.                                 Amount Of Bond
                                                                                                 #RO-23-736302                               $                    5,000.00
    Fue Numbers And Offenses
                                3F      vr POSSESSION OF COCAINE: M- POSSESS DRUG PARAPHERNALIA:
    23CR270240-910




;
        See Attachment.
    Location Of Count
    Wake Co: Justice Center, Courtroom 203                                                                    x Distinct []Supenor Date
                                                                                                                                    1/16/3023
                                                                                                                                              Time


     To The Defendant Named Above, you are ORDERED to appear before the Coun as provided above and at ail subsequent continuad dates.
     If you fail to appear, you will ba arrested and you may be charged with the crime of willful failure to appear You also may be arrested without a
     warrant if you violate any condition of release in this Osder of in any document incorporated by reference.
     The defendant has been advised of charga(s) against him/her and his/her right to communicate with counset and friends.
          Your release is authorized upon execution of your: []WRITTEN PROMISE to appear           UNSECURED BONO in the amount shown above.
              CUSTODY RELEASE [XJ SECURED BOND in the amount shown abave (NOTE: Give a copy of ths order to any surety who pasts band.)
                OUSE ARREST with ELECTRONIC MONITORING administered by eaency)                                                         a nd the SECUREO
              BOND above. You may laavo your residanca Jor tho purpose{s) of          loyment counsaling [Icoursoofstusy                vocational training




         Yeur reloase is not authorized,
         The defendant is required to provide (check alt that apply)          [J
                                                                         fingerprints under G.S 15A-502                     O
                                                                                                                 a DNA sample under G.S. 15A-266.34
         Prior to release, the defendant shell provide hisiner (check that a
         The defendant has bean           o                                                    (J
                                                                                         fingerprints       ONA
                                         () charged with a felony white on probation (comalete AOC-CR-272, Side One). [}{ii) arrested for violation of probation
         with a pending felony charge or prior conviction requiring registration under G.S., 14, Asticle 27A (complete AOC-CR-272. Sidt Tivo).
     ([] This Order is entered upon defendant's warranties arrest fas violation of conditions of release antored previously for the above 'Captioned casa in the
           Order dated
           tho defendant is charged wilh an offense subject to G.S. 15A4-534.1, and no judge has atied under that statule within 48 hours of defendant's arrest.
           The defendant was arrested or surrendered after failing to appear as required under 3 prior release order.
           This was the defendant's secand or subsequent failure to appear in this case.
           Your release is subject to the conditions as shown on the attached []AOC-CR-242.                        [a
                                                                                                         AQC-CR-270, []AOC-cR-630. (lAOC-CR-631.
                                                                                           LJaoc-cr-e60.           [Jother:
               taformation

    Pending cases andf FTA's..


    Date                 Name Of          Omciat                          Signature OF          OfScial                         Magistrote      Deputy CSC            [Assistant csc
      10/19/2023        M. Smith                                                                                                Clerk Of Supence Cou'       (Joc Judge ["]se Jucge
                                                                           ORDER OF COMMITMENT                                                                :
                                                                                                                                                                  :
                                                                                                                                                                       4       :

     To The Custodian Of Tho Dotontion Facitity Named Betow, you are ORDERED fo recaivo n your custody the defendant named above who may be
     released if authorized above. If tho defendant is not sooner released, you ato ORDERED to: Fs] produce hinvher in Court as provided above.
     {}hold himsher          (Jas
                               provided on the attached AOC-CR-272.                   (for
                                                                                    the foltowing purpose:

           (tor charges covered by GS 154-5331). 154-534, 1, 154-534.7, or 54-534.8) produce hinvner at lhe first session of District or Supercar Court held in this county after the entry
           of this Order or, if no session is held before (for G.S. 15A-534.8, enter date ard time 24 hours after arrest: fcr aif others, 48 hours aner arrest}
                             . produce himmer   before a magistrate of this county at that time to determine conditions of preteiat release.
    Name Of Dtntion                                        Date                    Neme OfJcecaOMciat                                  Signature Of Judicial Official
    WCDBC                                                      10/19/2023          (M. Smith                                                                               :

                                                                                            (Qver)
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                                                                                    Original
                                                                                       0012

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                                                                                                                                     met (arene re,
      Bice                                     WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE.
       (, the undersigned promise to appear at all hearings, tials or otherwise as the Court   ay   require and to abide by any restrictions set out above.
       (understand and agree thal this promise ts effective until the entry of judgment in the District Court fram which no appeal is taken or until the entry of
       judgment In Superior Court, If 1 am reteased to the custody of another person, | agree to be placed in that person's custody, and that person agrees by
       hisher signature to supervise me.
      Oate                    Signature Of Defendant                                  Signature Of Person Agreeing To Supervise Oefendant

      Name Ol Person Agreeing To Supervise Defendant (type or prin)                   Address Of Persan Agrasing Te Supenise Defendant


                                                                 OEFENDANT RELEASED ON BAIL                         espa "Cah
      Dato
                                 3                     17                              Signature.
                                                                                                    at/ "AED
                                                           CONDITIONS OF RELEASE MOO                      CATIONS
      The Conditions of Release on the reverse are modified as follows:
                                         Modification                                           Date                     Signature Of Judictal Offictal

             450                                                                          10                   :




                                                        SUPPLEMENTAL ORDERS FOR COMMITMENT
      The defendant is next Ordered produced In Court as follows:
             Date         Timo                      Place                           Purpose                              Signatur           udicial Oficial

                          Am                           3
(ds

                                                                                                     t-




      Aton                                             DEFENDANT RECEIVED BY DETENTION FACILITY
                              Oatg                                      Time                                        Signature Of Custodian
                     10/19/28                                         'ZZ      0                    LZ              e


                                   LOL 20023                          [622




                                                   DEFENDANT RELEASED FOR COURT APPEARANCE
                               Date                                     Tima                                        Signature Of Custodian
                                                                      lYoo



       NOTE TO CUSTODIAN:: This forn shall accompany the defendant to court for all appearances
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